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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                     *     MDL NO. 2179
“DEEPWATER HORIZON” in the                          *
GULF OF MEXICO, on APRIL 20, 2010                   *     CIVIL ACTION NO. 2:10-MD-02179
                                                          SECTION: J
                                                    *
THIS DOCUMENT RELATES TO:                            *    JUDGE BARBIER
                                                          MAG. JUDGE SHUSHAN
10-cv-4536 (U.S. v. BP, MOEX, et al.)

********************************************************************

     PLAINTIFF INTERVENORS (1) MARY G. WALTON, (2) ROGER BARNHARDT,
     (3) HEATHER CLARK, (4) KENNETH CLARK AND (5) DEREK PAYNE’S
             COMPLAINT FOR INTERVENTION OF RIGHT

          NOW INTO COURT, through undersigned counsel, come Plaintiffs (1) Mary G.

Walton, (2) Roger Barnhardt, (3) Heather Clark, (4) Kenneth Clark and (5) Derek Payne to file

this Complaint for Intervention in U.S.A v BP et al. (10-cv-4536), in accordance with Federal Rule

of Civil Procedure 24.1

          This Petition of Intervenors alleges as follows:


                                                1.
          At all relevant times the Intervenors were and are United States citizens and each is a

    “person” as that term is defined by the Clean Water Act, 33 U.S.C. Sec 1362(5).



                                                   2.

           Made Defendant-in-Intervention herein is the United States of America (“United

1
 These Plaintiff-Intervenors also have a suit in this multi-district litigation, namely Mary Gifford Walton;
Roger Barnhardt; Heather and Kenneth Clark (husband and wife); and Derek Payne (Individually and as
representatives of similarly situated persons) v. BP et al. (E.D. LA #10-cv-4204; filed November 9,
2010)(removed from N.D. FL, #10-cv-331)


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States”).

                                                 3.

        On December 15, 2010 the United States filed its Complaint in this action (captioned

United States of America v. BP Exploration & Production Inc. et al., Civ. Action No. 2:10-

cv-04536) alleging, among other things, that MOEX Offshore 2007 LLC (“MOEX”) violated

§ 311 of the Clean Water Act, 33 U.S.C. § 1321 (“CWA”). The claims alleged against

MOEX for violation of the CWA in the United States’ Complaint are based on discharges of

hydrocarbons into waters of the United States beginning on April 20, 2010, relating to the

Macondo Well and the Deepwater Horizon.

                                            4.

        On February 17, 2012 the United Sates filed a Notice of Lodging of Proposed

Consent Decree (Doc. #5743), in which it has proposed settling MOEX’s CWA violations for

$45 million. (In the proposed Consent Decree MOEX also has agreed to pay an additional

$45 million to several Gulf States and to implement some SEPs (Supplemental Environmental

Projects).

                                             5.

        On February 24, 2012 the Department of Justice had the Proposed Consent Decree

filed in the Federal Register and stated that it would be accepting public comments for the

next 30 days.

                                                 6.

        On March 19, 2012, undersigned counsel filed a Public Comment with the

Department of Justice, objecting to the Proposed Consent Decree. (A copy is attached as

Exhibit 1. All statements and allegations in this Comment are incorporated herein.) The


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primary objections in it are that (1) the amount of the proposed settlement with MOEX is

inadequate, and (2) there is insufficient information in it to show how the amount of the

penalty had been determined.



                                            7.

        Among other things, the Public Comment noted that:

                     1. The Proposed Penalty Is Inadequate at Even the $1,100/Barrel
                     Penalty Rate:

                     The Clean Water Act provides for fines in a situation such as this from
                     $1,100 per barrel spilled to, in the case of “gross negligence”, $4,300 per
                     barrel.

                     The U.S. has estimated the amount spilled to have been 4.1 million
                     barrels

                     MOEX owned a 10% in interest in the well.

                     If the fine were assessed at $1,100/barrel, the total fine would be $4.51
                     billion. Moex’s 10% share would therefore be $451 million. The $45
                     million proposed settlement, however, would be only 1% of a $4.51
                     billion penalty against BP.



                     2. The Evidence Currently Known Indicates That The Incident Was
                     An Act Of “Gross Negligence”, Thereby Triggering the $4,300/Barrel
                     Penalty Rate:

                     The Chief Counsel’s Report of the Presidential Commission made several
                     findings that could reasonably lead one to determine that the spill was the
                     result of gross negligence:


                             The Chief Counsel‘s team concluded that all of the technical
                             failures at Macondo can be traced back to management errors by
                             the companies involved in the incident. BP did not fully
                             appreciate all of the risks that Macondo presented. It did not
                             adequately supervise the work of its contractors, who in turn did
                             not deliver to BP all of the benefits of their expertise. BP
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                     personnel on the rig were not properly trained and supported, and
                     all three companies failed to communicate key information to
                     people who could have made a difference.

                     Among other things:

                        BP did not adequately identify or address risks created by last-
                     minute changes to well design and procedures. BP changed its
                     plans repeatedly and up to the very last minute, sometimes causing
                     confusion and frustration among BP employees and rig
                     personnel.

                        When BP did send instructions and procedures to rig personnel;
                     it often provided inadequate detail and guidance.

                        It is common in the offshore oil industry to focus on increasing
                     efficiency to save rig time and associated costs. But management
                     processes must ensure that measures taken to save time and reduce
                     costs do not adversely affect overall risk. BP‘s management
                     processes did not do so. (Emphasis added).


              Further, the Chief Counsel’s Final Report was but one of numerous
              reports, studies, and hearings that came to similar findings, including those
              by:

                     - the U.S. Coast Guard;
                     - the U.S, Mineral Management Service (now the Bureau of Ocean
                     Energy, Management, Regulation and Enforcement);
                     - the Deepwater Horizon Study Group;
                     - the Final Report of the National Commission on BP Deepwater
                     Horizon and Offshore Drilling; and
                     - numerous Congressional Committees.


              Accordingly, in light of these factors, combined with MOEX’s knowledge
              of BP’s history of violations, it is very likely that a trial would result in a
              determination of “gross negligence” against MOEX as well as BP, thereby
              resulting in the increased fine of up to $4,300/barrel.



              3. The Proposed Settlement is Even More Inadequate at the
              $4,300/Barrel Penalty Rate For Acts of “Gross Negligence”:

              If the fine were assessed at $4, 300/barrel, and the total fine would be

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                      $17.63 billion. Moex’s 10% share would therefore be $1.763 billion. The
                      $45 million proposed settlement, however, would be only 0.26% of a
                      $17.63 billion penalty against BP.



                      4. The Proposed Settlement Does Not Adequately Consider the
                      “Penalty Factors” Of The Clean Water Act.

                      The Clean Water Act specifies several explicit factors that are to be
                      considered when assessing a penalty. Although this is a proposed
                      settlement and not an assessment, there is insufficient discussion of
                      CWA’s penalty factors. Without such, it is not possible to determine if the
                      Proposed Settlement amount may be adequate. Therefore, the Proposed
                      Settlement should be withdrawn and revised also to include a discussion
                      of how the amount relates to the penalty factors.



                                              8.

         The Department never responded to this Comment.



                                             9.

       The extent and enormity of the damage caused by the oil is still being realized. For

example, even in just the few days since the proposed Consent Decree was filed and the Public

Comment was filed, there have been new reports of new presence of oil in Barataria Bay; further

signs of”severe ill health” in dozens of dolphins from Barataria Bay; and “widespread damage

and the slow death of a deep-sea coral community in the Gulf of Mexico”, all linked to the oil.

These recent reports further exemplify the inadequacy of the United States’ proposed settlement

amount with MOEX. See:

        (1) “Photos Document BP Still Contaminates “Cleaned” Louisianan Marshes, Officials
        Say”
        Times Picayune; March 30, 2012, at :
http://www.nola.com/environment/index.ssf/2012/03/photos_document_bp_oil_still_c.html

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        (2) “Dolphins In Barataria Bay Are Severely Ill, NOAA Says”;
        Times Picayune; March 23, 2012, at:
http://www.nola.com/environment/index.ssf/2012/03/dolphins_in_barataria_bay_poll.html ; and

        (3) “Report: Oil Spill Culprit For Heavy Toll On Coral”;
        Times Picayune; March 26, 2012, at:
http://www.nola.com/newsflash/index.ssf/story/report-oil-spill-culprit-for-heavy-
        toll/82dca068b01949aeba9d768e2b79c8fd


                                               10.

         This Complaint is being filed because the Proposed Consent Decree (Doc. #5743-1)

 is inadequate for the reasons stated herein and in the Public Comment, including that the

 amount of the penalty is inadequate and because it does not consider the factors to be

 considered in settlement of CWA violations.



         WHEREFORE, the Intervenors pray that this Court deny the United States’ Motion

 for Entry of Judgment and to Make Consent Decree Final, and grant other such relief as this

 Court deems just and proper.


                                               Respectfully submitted,
                                               /s/ Daniel E. Becnel, Jr.
                                               Daniel E. Becnel, Jr. (2926)
                                               BECNEL LAW FIRM, LLC
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                                               Attorney for Plaintiffs




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                               CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing pleading has been served on All Counsel
by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial
Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of
the United States District Court for the Eastern District of Louisiana by using the CM/ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 27th day of April, 2012.
                                                                  /s/ Daniel E. Becnel, Jr.




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